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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
In re:


EDWARD J. GONZALEZ,                                                 Case No. 22-71289-AST

                                             Debtor(s)              Chapter 11
--------------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

        I, Norma E. Ortiz, being duly sworn, state as follows:

        1. I am over 18 years of age and not a party to this case.

        2. On January 20, 2023, third-party vendor Certificateofservice.com and I served a copy
of the following documents to the individuals and entities listed on the annexed service list by e-
mail and regular mail:

              Ex Parte Order Scheduling Hearing on Application of Ortiz & Ortiz LLP

                       Application of Ortiz & Ortiz LLP to Withdraw as Counsel


       I hereby certify that the foregoing statements made by me are true to the best of my
knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false,
I am subject to punishment.


Dated: New York, New York
       Jan. 20, 2023
                                                                     s/Norma E. Ortiz
                                                                    Norma E. Ortiz
                                                                    Ortiz & Ortiz LLP
                                                                    287 Park Avenue So., Ste. 728
                                                                    New York, New York 10010
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                                     Edward J. Gonzalez
                                       22-71280-ast
                                        Service List

Creditor or Interested Party                               Method of Service
JPMORGAN CHASE BANK N A                                    Regular Mail
BANKRUPTCY MAIL INTAKE TEAM
700 KANSAS LANE, FLOOR 01
MONROE LA 71203-4774


JUDAH MALTZ, Esq.                                          Regular Mail
12510 QUEENS BLVD STE 12
KEW GARDENS NY 11415-1522


NYS DEPT OF TAX AND FINANCE                                Regular Mail
BANKRUPTCY SECTION
PO BOX 5300
ALBANY NY 12205-0300
NEW YORK CITY ENVIRONMENTAL CONTROL BOARD                  Regular Mail
66 JOHN STREET
NEW YORK NY 10038-3724
ASSET ACQUISITION GROUP LLC                                Regular Mail
6851 JERICHO TURNPIKE
SUITE 190
SYOSSET NY 11791-4421
BENEFICIAL NEW YORK INC                                    Regular Mail
961 WEIGEL DRIVE
ELMHURST IL 60126-1058
PARKING VIOLATIONS BUREAU                                  Regular Mail
100 CHURCH STREET
NEW YORK NY 10007-2601
PORTFOLIO RECOVERY ASSOCIATES LLC                          Regular Mail
PO BOX 41067
NORFOLK VA 23541-1067
RAB PERFORMANCE RECOVERIES LLC                             Regular Mail
10 FOREST AVENUE
PARAMUS NJ 07652-5252
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Creditor or Interested Party                               Method of Service
THDCBNA                                                    Regular mail
PO BOX 6497
SIOUX FALLS SD 57117-6497
US DEPARTMENT OF EDUCATION CO NELNET                       Regular mail
121 SOUTH 13TH STREET
LINCOLN NE 68508-1904
NATIONAL LOAN ACQUISITIONS CO                              By email to rgoldstein@msgrb.com
C/O DAVID A GALLO ASSOCIATES LLP
47 HILLSIDE Ave., 2D FLOOR
MANHASSET NY 11030-2229
CREDIT ONE BANK NA                                         Regular mail
PO BOX 98875
LAS VEGAS NV 89193-8875
CAPITAL ONE                                                Regular mail
PO BOX 31293
SALT LAKE CITY UT 84131
ASTORIA FEDERAL SAVINGS LOAN                               Regular mail
3716 30TH AVENUE
ASTORIA NY 11103-4300
DAVID LORBER ESQ                                           Regular mail
100 NORTH COUNTRY ROAD
EAST SETAUKET NY 11733-1354
DISCOVER FINANCIAL SERVICES LLC                            Regular mail
PO BOX 3025
NEW ALBANY OH 43054-3025
DISCOVER BANK                                              Regular mail
PO BOX 30939
SALT LAKE CITY UT 84130-0939
EMPIRE PORTFOLIOS INC                                      Regular mail
199 CROSSWAYS PARK DR
WOODBURY NY 11797-2016
INTERNAL REVENUE SERVICE                                   Regular mail
PO BOX 7346
PHILADELPIA PA 19101-7346
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Creditor or Interested Party                               Method of Service
JOHN GONZALEZ                                              By email to private address
16 BROOKWOOD DRIVE
WHEATLEY HEIGHTS NY 11798-1006
Edward J. Gonzalez                                         By Email to private address
42 E. Half Hollow Rd.
Dix Hills, NY 11746
JOANNA GONZALEZ                                            By Email to private address
16 BROOKWOOD DRIVE
WHEATLEY HEIGHTS NY 11798
PE-NC LLC                                                  By Email to gravert@ravertpllc.com
C/O RAVERT PLLC
16 Madison Square, FL 12, #369
New York, New York 10010
WILLIAM J BIRMINGHAM                                       By Email to
OFFICE OF THE UNITED STATES TRUSTEE RE                     William.Birmingham@usdoj.gov
560 FEDERAL PLAZA
CENTRAL ISLIP NY 11722
MARK M. ALTSCHUL ESQ                                       By Email to mark@altschul.biz
18 EAST 12TH STREET
NEW YORK NY 10003-4458
Diego Gonzalez                                             By Email to jkroll@jeklawyers.com
c/o JONATHAN E KROLL, Esq.
400 GARDEN CITY
PLAZA 435
GARDEN CITY NY 11530
